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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    ALEXANDRA P. NEGIN, #250376
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     JESSIE WRIGHT
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7
8                                    UNITED STATES DISTRICT COURT
9                                   EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                    )   Case No. 2:15-cr-035 JAM
                                                  )
11                           Plaintiff,           )   STIPULATION AND ORDER
                                                  )   TO CONTINUE STATUS CONFERENCE
12          v.                                    )
                                                  )
13   JESSIE WRIGHT, et al.,                       )   DATE: January 26, 2016
                                                  )   TIME:  9:15 a.m.
14                           Defendants.          )   JUDGE: Hon. John A. Mendez
                                                  )
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16
             IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
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     through Justin Lee, Assistant United States Attorney, attorney for Plaintiff, and Heather
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     Williams, Federal Defender, through Assistant Federal Defender Lexi Negin, attorney for Jessie
19
     Terrell Wright and through Olaf Hedberg, attorney Clifford Abram McDowell, that the status
20
     conference scheduled for January 26, 2016 be vacated and continued to March 15, 2016 at 9:15
21
     a.m.
22
             The reasons for this continuance are to allow defense counsel additional time to review
23
     discovery with the defendants, to continue investigating the facts of the case, and to negotiate a
24   resolution to this matter.
25           Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
26   excluded of this order’s date through and including March 15, 2016; pursuant to 18 U.S.C.
27   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
28   based upon continuity of counsel and defense preparation.

       Stipulation to Continue                        -1-
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1    Counsel and the defendant also agree that the ends of justice served by the Court granting this
2    continuance outweigh the best interests of the public and the defendant in a speedy trial.
3    DATED: January 21, 2016                               Respectfully submitted,

4                                                          HEATHER E. WILLIAMS
                                                           Federal Defender
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6                                                          /s/ Lexi Negin
                                                           LEXI NEGIN
7                                                          Assistant Federal Defender
                                                           Attorney for Defendant
8                                                          JESSIE TERRELL WRIGHT
9
     DATED: January 21, 2016                               /s/ Olaf Hedberg
10                                                         OLAF HEDBERG
                                                           Attorney for Defendant
11                                                         CLIFFORD ABRAM MCDOWELL
12   DATED: January 21, 2016                               BENJAMIN B. WAGNER
13                                                         United States Attorney

14                                                         /s/ Justin Lee
                                                           JUSTIN LEE
15                                                         Assistant U.S. Attorney
                                                           Attorney for Plaintiff
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      Stipulation to Continue                        -2-
       Case 2:15-cr-00035-JAM Document 44 Filed 01/21/16 Page 3 of 3


1                                                ORDER
2           IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
3    stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
4    its order. The Court specifically finds the failure to grant a continuance in this case would deny
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds the ends of justice are served by granting the requested
7    continuance and outweigh the best interests of the public and defendant in a speedy trial.

8    The Court orders the time from the date the parties stipulated, up to and including March 15,

9    2016, shall be excluded from computation of time within which the trial of this case must be

10   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv)

11   [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). It is further

12   ordered the January 26, 2016 status conference shall be continued until March 15, 2016, at 9:15
     a.m.
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     DATED: January 21, 2016
14                                                          /s/ John A. Mendez____________
15                                                          HON. JOHN A. MENDEZ
                                                            United States District Court Judge
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      Stipulation to Continue                         -3-
